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_ UNITED STATES DISTRICT COURTE ASTERN DISTRICT:
EASTERN DISTRICT OF WISCONSIN . FILED

 

 

‘UNITED STATES OF AMERICA, "STEPHEN con DRIES

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Plaintiff, 1 g- -CR- 4 9 1
Vv. Case No. 18-CR-
[18 U.S.C. §§ 2252A(a)(2)(A),
(b)(1), (6)(2), & (5)(B)
SEAN R. EVANSEN,
Green Bay Division
Defendant.

 

INDICTMENT

 

COUNT ONE

THE GRAND JURY CHARGES THAT:

1 Between June 6, 2018, and September 13, 201 8, in the State and Eastern District
of Wisconsin and elsewhere, | |

SEAN R. EVANSEN

knowingly received child pornography, as defined in Title 18, United States Code, Section
2256(8)(A), using a means and facility of interstate and foreign commerce, that had been mailed,
shipped and transported in and affecting interstate and foreign commerce, and which contained
material that had been shipped and transported by a means and facility of interstate and foreign
commerce, including by computer.

2. The child pornography received by the defendant included digital images

identified by the following partial file names:

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Partial File Names Description

 

(pthc) NEW 2016 Pedo Childlover | A digital image depicting a pre-pubescent
8yo Daddy’s Little Girl Pics JM female on her back with her legs spread apart
| LL jpg exposing her genitals to the recording device.

 

(pthc) NEW 2016 Pedo Childlover | A digital image depicting a naked from the

8yo Daddy’s Little Girl Pics JM waist down adult male and a pre-pubescent
14.jpg female positioned on her stomach facing the
adult male. The adult male has his erect penis in
the child’s mouth and appears to be exerting
pressure on the back of her head with his left
hand.

 

 

 

 

3. The defendant has a prior conviction under the laws of the State of Wisconsin
related to aggravated sexual abuse, sexual abuse, or abusive sexual conduct involving a minor or
ward; to wit: a conviction on June 19, 2000, in Calumet County Circuit Court, for the crime of
First Degree Sexual Assault of a Child.

All in violation of Title 18, United States Code, Section 2252A(a)(2) & (b)(1).

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COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

1. Onorabout September 13, 2018, in the State and Eastern District of Wisconsin and
elsewhere, | |

"SEAN R. EVANSEN

knowingly possessed matter that contained images of child pornography, as defined in Title 18,
United States Code, Section 2256(8)(A), that involved a minor who had not attained the age of
12 years, and which had been mailed, shipped, and transported using a means and facility of
interstate and foreign commerce, and that was produced using materials that had been mailed,
shipped, and transported by a means of interstate and foreign commerce, including by computer.

2. The child pornography possessed by the defendant included files identified by the

following partial file names:

 

Partial File Name Description

 

68.jpg A digital image depicting a naked pre-pubescent
female seated atop a wooden table with her legs
spread apart exposing her genitals to the
recording device.

img.272-1 jpg . ] A digital image depicting what appears to be a

naked teenage female performing fellatio on a
naked pre-pubescent boy.

 

 

 

 

 

All in violation of Title 18, United States Code, Section 2252A(a)(5)(B) & (b)(2).

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FORFEITURE NOTICE
Upon conviction of either count in the indictment, the defendant shall forfeit to the United
States, pursuant to Title 18, United States Code, Section 2253, all visual depictions described in
Title 18, Sections 2252 and 2256, and any book, magazine, periodical, film, videotape, or other
matter which contains any such visual depiction, which was produced, transported, mailed,
shipped, or received in violation of Title 18, United States Code, Section 2252, and shall forfeit
any property, real or personal, used or intended to be used to commit or promote the commission

of such offenses.

A TRUE BILL:

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Dated: - Jo- 10- 1p

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MATTHEW D. KR ER
United States Attorney

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